                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF ALASKA

                             United States of America v. Sedric Williams
                                Case No. 3:18-cr-00113-TMB-MMS

By:                    THE HONORABLE TIMOTHY M. BURGESS


PROCEEDINGS:           ORDER FROM CHAMBERS

The matter comes before the Court on the Final Report and Recommendation (“Final R&R”) of
United States Magistrate Judge Scoble 1 recommending the Court deny Defendant Sedric
Williams’ Motion to Dismiss at Docket 159 (the “Motion”). 2 For the reasons discussed below, the
Court ACCEPTS the Final R&R as MODIFIED by this Order. Consequently, the Court
DENIES the Motion at Docket 159 on the merits.

      A. Background

Williams is charged by superseding indictment with one count of drug possession with intent to
distribute. 3 Relevant to the Motion, the Government alleges Williams crashed his car into a
telephone pole while trying to evade the police, fled on foot, threw a bag of drugs into nearby
bushes, and was eventually caught with a separate bag of cash in his pocket. 4 The Government
asserts the police photographed and logged both bags. 5

      B. Motion to Dismiss

On November 1, 2021, Williams moved to dismiss the Indictment on Fifth Amendment due
process grounds. 6 Williams asserts the Government “either destroyed or disposed of” the bag of
cash, “prohibiting Mr. Williams from subjecting the bag to testing to determine if that was the
plastic bag the trooper saw Mr. Williams throw from his hand.” 7 According to Williams, the
trooper has provided “conflicting description[s] of the plastic bag Mr. Williams is alleged to have
thrown.” 8 Williams implies the trooper may have seen him discard only one bag—the bag of cash
that Williams alleges is missing, not the bag of drugs—and argues that “[t]esting of the missing
bag very well could have proven that the bag [of cash] was retrieved from the weeds and dirt and
not from his pocket.” 9 Williams argues that the missing bag has exculpatory value, that he is unable


1
  Dkt. 179 (Final R&R).
2
  Dkt. 159 (Motion); see also Dkt. 160 (Memorandum in Support of Motion).
3
  Dkt. 65 (Superseding Indictment).
4
  Dkt 166 at 2–3 (Opposition).
5
  Id. at 4–5.
6
  Dkt. 159 at 1; Dkt. 160 at 3–5.
7
  Dkt. 160 at 2.
8
  Id.
9
  Id. at 5.
                                                 1

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to obtain comparable evidence, and that the Government violated his due process right to access
evidence by destroying the bag. 10 Accordingly, Williams argues the case should be dismissed. 11

The Government opposes the Motion on the basis that “the bag is still within the Government’s
possession, available for inspection by the defense and for use as an exhibit.” 12 The Government
argues that “[b]ecause the evidence is still available, the defendant has not suffered a deprivation
of any constitutional right that would necessitate dismissing this case without a trial.” 13 The
Government does not oppose the Motion on procedural grounds. 14

On November 9, 2021, the Government brought both bags at issue to an evidentiary hearing on
the Motion. 15 The defense inspected the bags at the hearing. 16

     C. Magistrate Judge Scoble’s Final Report & Recommendation

On December 1, 2021, Magistrate Judge Scoble issued a Final R&R recommending the Court deny
the Motion for two independent reasons: (1) Williams failed to comply with Federal Rule of
Criminal Procedure (“Rule”) 12, rendering the Motion procedurally improper, because he failed
to allege that “the evidence at issue had any effect on the integrity of the grand jury proceedings,
or that there was a defect in initiating of the prosecution” and (2) even if the Motion were
procedurally proper, “the evidence was not lost or destroyed by the government.” 17

In the Final R&R, the Magistrate Judge also declines to alter its recommendation based on
Williams’ objections to the Initial Report and Recommendation (“Initial R&R”). 18 In his
Objection, Williams concedes “that the claimed missing plastic bag did appear at the hearing” but
objects “to the finding that there was procedural impropriety in the motion as filed.” 19 Williams
does not include legal authority for his proposition that the Motion is procedurally proper. Partly
for that reason, the Magistrate Judge concludes in the Final R&R that it need not alter its
recommendation, noting “‘[i]t is not sufficient for a party to mention a possible argument in the
most skeletal way, leaving the court to . . . put flesh on its bones.’” 20 The Magistrate Judge also
reasons that Williams did “not identify the specific findings that he disagrees with.” 21




10
   Id.
11
   See generally Dkt. 159.
12
   Dkt. 166 at 2.
13
   Id.
14
   See generally id.
15
   Dkt. 179 at 4.
16
   Id.
17
   Id. at 3.
18
   See Dkt. 176 (Initial R&R).
19
   Dkt. 177 (Objection to Initial R&R). The Government did not object to the Initial R&R. Dkt. 178
(Response to Objection to Initial R&R).
20
   Dkt. 179 at 4 (quoting McPherson v. Kelsey, 125 F.3d 989, 995–96 (6th Cir. 1997)).
21
   Id.
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     D. Discussion

Having considered the Final R&R and relevant portions of the record, the Court accepts the
Magistrate Judge’s recommendation that the Motion be denied on the merits. However, the Court
disagrees with the Magistrate Judge that the Motion is procedurally improper and modifies the
Final R&R accordingly.

Rule 12(b)(1) provides that “[a] party may raise by pretrial motion any defense, objection, or
request that the court can determine without a trial on the merits.” 22 This Rule permits a defendant
to raise by pretrial motion any request “capable of determination without the trial of the general
issue.” 23 As the Ninth Circuit has explained,

        A pretrial motion is generally “capable of determination” before trial if it involves
        questions of law rather than fact. However, “a district court may make preliminary
        findings of fact necessary to decide the questions of law presented by pre-trial
        motions so long as the court’s findings on the motion do not invade the province of
        the ultimate finder of fact.” 24

Rule 12(b)(3) lists certain motions which “must” be made before trial “if the basis for the motion
is then reasonably available and the motion can be determined without a trial on the merits.” 25
Among those motions that “must” be raised before trial are motions “alleging a defect in instituting
the prosecution” and motions alleging “a defect in the indictment.” 26

Under the Rules, Williams’ Motion is properly raised. Defendants may move to dismiss
indictments on due process grounds under Rule 12(b)(1). Such motions are plainly “request[s]”
that can be resolved “without a trial on the merits.” 27 This reading of Rule 12 has been implicitly
endorsed by many courts, including the Ninth Circuit, which frequently reach the merits of pretrial
motions to dismiss on due process grounds without questioning their procedural propriety. 28 For
22
   Fed. R. Crim. P. 12(b)(1).
23
   United States v. Shortt Acct. Corp., 785 F.2d 1448, 1452 (9th Cir. 1986) (internal quotations
omitted); see also United States v. Beal, No. 18-CR-00070-DKW-12, 2021 WL 2325331, at *1–2
(D. Haw. June 7, 2021).
24
   Id. (internal citations omitted).
25
   Fed. R. Crim. P. 12(b)(3).
26
   Fed. R. Crim. P. 12(b)(3)(A), (B).
27
   Fed. R. Crim. P. 12(b)(1).
28
   See, e.g., United States v. Zaragoza-Moreira, 780 F.3d 971, 982 (9th Cir. 2015) (holding district
court erred by denying defendant’s pretrial motion to dismiss on due process grounds where the
government, acting in bad faith, failed to preserve potentially useful video footage, thereby
violating defendant’s due process right to present a complete defense; remanding with instructions
to dismiss the indictment); Beal, 2021 WL 2325331, at *1–2 (considering on the merits a pretrial
motion to dismiss based on the government’s failure to preserve evidence; noting the motion to
dismiss was filed pursuant to Rule 12); United States v. Lopez-Rocha, 322 F. Supp. 3d 1040, 1045
(S.D. Cal. 2018) (considering on the merits a pretrial motion to dismiss based on the government’s
failure to preserve evidence); United States v. Salas, No. 14-CR-00413-JSW-1, 2016 WL 3456693,


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example, in United States v. Zaragoza-Moreira, 29 the Ninth Circuit reversed a district court for
failing to dismiss an indictment before trial where the government, acting in bad faith, destroyed
evidence that would be potentially useful to the defense. 30

Williams is not required to allege a defect in the grand jury proceedings or indictment. Rule
12(b)(3) requires only that if Williams were to allege a defect in the grand jury proceedings or
indictment, he must do so before trial (so long as the basis for the motion is reasonably available
at the time). As discussed above, Rule 12(b)(3), by its plain language, does not limit the types of
motions that may properly be brought before trial. It merely specifies which motions must be
brought before trial. A defendant may raise before trial—per Rule 12(b)(1)—“any . . . request that
the court can determine without a trial on the merits.” As is clear from the Magistrate Judge’s
recommendation to dismiss the Motion on the merits, Williams’ Motion makes a “request that the
court can determine without a trial on the merits.” The Motion is, therefore, properly raised under
Rule 12.

Nevertheless, the Court agrees with the Magistrate Judge as to the merits of Williams’ Motion: the
Government has not violated Williams’ due process rights. The Magistrate Judge found, and
Williams now concedes, that the Government did not destroy the bag of cash as Williams had
alleged. 31 Accordingly, the Court DENIES the Motion on the merits.

   E. Conclusion

For the foregoing reasons, the Court ACCEPTS the Final R&R at Docket 179 as MODIFIED in
this Order. Consequently, the Court DENIES the Motion at Docket 159.

Entered at the direction of the Honorable Timothy M. Burgess, United States District Judge.

DATE: December 3, 2021.




at *3 (N.D. Cal. June 24, 2016) (same); United States v. Gonzalez-Hernandez, No. CR15-00267-
TUC-RCC, 2015 WL 1600781, at *2 (D. Ariz. Apr. 8, 2015) (same).
29
   780 F.3d 971 (9th Cir. 2015).
30
   Id. at 982; see also United States v. Cooper, 983 F.2d 928, 931–33 (9th Cir. 1993) (affirming
district court’s pretrial dismissal of an indictment on the basis that the government failed to
preserve evidence; finding the appropriate remedy was dismissal rather than suppression).
31
   Dkt. 179 at 3.
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